




NO. 07-08-0093-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



APRIL 28, 2008

______________________________



ANDY DEWAYNE POSEY, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 53,792-E; HONORABLE ABE LOPEZ, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON ABATEMENT AND REMAND

Appellant, Andy DeWayne Posey, appeals his conviction for possession of a controlled substance in a drug free zone, enhanced, and sentence of 40 years incarceration in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;On April 11, 2008, the clerk’s record was filed in this cause. &nbsp;

The clerk’s record does not
 
contain a certification by the trial court of appellant’s right of appeal under Texas Rule of Appellant Procedure 25.2(d). &nbsp;
Rule 25 requires the trial court to enter such a certification “each time it enters a judgment of guilt or other appealable order.” &nbsp;Tex. R. App. P. 25.2(a)(2). 

Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;On remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal 
in compliance with Texas Rule of Appellate Procedure 25.2(d), regarding appellant’s appeal of the trial court’s judgment. &nbsp;Once executed, the certification shall be included in a supplemental clerk’s record and filed with this Court on or before May 28, 2008
. &nbsp;

It is so ordered.



Per Curiam



Do not publish.


